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8                               UNITED STATES DISTRICT COURT
9                              CENTRAL DISTRICT OF CALIFORNIA
                                     WESTERN DIVISION
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11   ANA MARIA FLORES,                                 ) No. 2:20-cv-11623-GJS
                                                       )
12          Plaintiff,                                 )
                                                       ) [PROPOSED]
13                  v.                                 ) JUDGMENT OF REMAND
                                                       )
14                                                     )
     KILOLO KIJAKAZI,1                                 )
15                                                     )
     Commissioner of Social Security,                  )
16                                                     )
            Defendant.                                 )
17
            The Court having approved the parties’ Stipulation to Voluntary Remand
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     Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation
19
20   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.

21          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-

22   captioned action is remanded to the Commissioner of Social Security for further
23   proceedings consistent with the Stipulation of Remand.
24
25   DATED: September 27, 2021
26                                                GAIL J. STANDISH
                                                  UNITED STATES MAGISTRATE JUDGE
27
28   1
        Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021. Pursuant to
     Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be substituted, therefore,
     for Andrew Saul as the defendant in this suit. No further action need be taken to continue this suit by
     reason of the last sentence of section 205(g) of the Social Security Act, 42 U.S.C. § 405(g).
